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                  IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                                   BID PROTEST




AMAZON WEB SERVICES, INC.,
                                                                      19-1796 C
                                                           Case No. ___________________
                Plaintiff,
                                                           Judge     ___________________
     v.

UNITED STATES OF AMERICA,
by and through the U.S. Department of Defense,

                Defendant.



                PLAINTIFF’S MOTION FOR LEAVE TO FILE UNDER SEAL

          Pursuant to Paragraph 4 of Appendix C to the Rules of the United States Court of Federal

 Claims, Plaintiff Amazon Web Services, Inc. (“AWS”) moves for leave to file its Complaint and

 related filings, including AWS’s motion to supplement the administrative record, under seal. AWS

 will file proposed redacted versions of these filings with the Court.

          The Complaint and related filings contain source selection sensitive information, as well

 as AWS’s proprietary information, trade secrets, and confidential financial information, the release

 of which would cause severe competitive harm. The record in this bid protest likely will contain

 similarly sensitive information. Accordingly, AWS respectfully requests the Court GRANT this

 Motion.
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Dated:        November 22, 2019     Respectfully submitted,




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